4:15-cr-03010-JMG-CRZ          Doc # 27    Filed: 03/19/15   Page 1 of 2 - Page ID # 112




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                     Plaintiffs,                                4:15CR3010
      vs.
                                                                  ORDER
MARISELA PESCADOR
                     Defendant.


       Defense counsel has moved to withdraw due to a conflict of interest. (Filing No.
26). The defendant Marisela Pescador is eligible for appointed counsel pursuant to the
Criminal Justice Act, 18 U.S.C. §3006A, and the Amended Criminal Justice Act Plan for
the District of Nebraska.

       IT IS ORDERED:

       1)     Defense counsel's motion to appoint new counsel, (filing no. 26), is
              granted. Timothy Sullivan is hereby withdrawn as counsel, and he shall
              promptly notify the defendant of the entry of this order.

       2)     The clerk shall delete Timothy Sullivan from any future ECF notifications
              herein.

       3)     The clerk shall forward this memorandum and order to the Federal Public
              Defender.

       4)     The Federal Public Defender shall forthwith provide the court with a draft
              appointment order (CJA Form 20) bearing the name and other identifying
              information of the CJA Panel attorney identified in accordance with the
              Criminal Justice Act Plan for this district.
4:15-cr-03010-JMG-CRZ    Doc # 27    Filed: 03/19/15   Page 2 of 2 - Page ID # 113




    5)    The newly appointed counsel shall promptly file an entry of appearance on
          behalf of the defendant.

    March 19, 2015.

                                           BY THE COURT:
                                           s/ Cheryl R. Zwart
                                           United States Magistrate Judge




                                       2
